Case 1:03-cr-00929-NGG              Document 376              Filed 12/01/05   Page 1 of 4 PageID #: 2313




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------X
 UNITED STATES OF AMERICA,
                                                                       MEMORANDUM & ORDER

         v.                                                            03-CR-929 (NGG)

 PATRICK DEFILIPPO,

                            Defendant.
 ---------------------------------------------------------X

 GARAUFIS, United States District Judge.


         Defendant Patrick DeFilippo (“DeFilippo”) requested permission on October 18, 2005 to

 continue joint meetings with defendant John Spirito (“Spirito”) in preparation for DeFilippo’s

 upcoming trial. The Government opposes this request. For the reasons set forth below,

 DeFilippo’s request is DENIED.

         Although DeFilippo and Spirito have been under a separation order, they were permitted

 to meet for joint co-defendant meetings with counsel until recently. (Def. Ltr. of Oct. 19, 2005.)

 On September 27, 2005, Spirito pled guilty before this court to racketeering conspiracy. (Tr. of

 Plea, Sept. 27, 2005.) DeFilippo is scheduled to go to trial in this case on January 17, 2005.

 Since Spirito’s plea, DeFilippo’s requests for joint meetings to prepare for trial have been denied.

 (Def. Ltr. of Oct. 19, 2005.)

         DeFilippo argues that his need to meet with Spirito is unchanged as a result of Spirito’s

 plea and that he is denied his constitutional right to prepare a defense and to effective assistance

 of counsel when he is prevented from meeting with Spirito. (Id.) DeFilippo’s counsel argues

 that the need to play “telephone” between the two defendants requires an unnecessary use of


                                                      1
Case 1:03-cr-00929-NGG          Document 376         Filed 12/01/05      Page 2 of 4 PageID #: 2314




 time. (Def. Ltr. of Nov. 8, 2005). Specifically defense counsel submits that:

            [T]here exist literally thousands of documents and tape recordings that Mr.
            DeFilippo must review before trial. Critically, Mr. Spiritto [sic] is possessed
            of substantial information to which Mr. DeFilippo is not privy and which they
            need to jointly discuss, with counsel. Tapes, surveillance photos and
            documents often contain references that make sense to Mr. Spiritto [sic] but
            not to Mr. DeFilippo and Spiritto [sic] often recalls facts material to the
            defense that Mr. DeFilippo does not. Together they can piece together
            information that individually alludes them both. (Def. Ltr. of Oct. 19, 2005.)

 In essence, the court reads DeFilippo’s request as asserting that the refusal to allow DeFilippo

 joint meetings with Spirito impacts DeFilippo’s right to counsel by requiring his counsel to spend

 additional time preparing for the trial and, further, that by denying access to Spirito, the

 Government is preventing DeFilippo from accessing a resource akin to an expert or translator

 necessary for document review.

        The Government argues that DeFilippo and Spirito are no longer co-defendants and

 therefore DeFilippo enjoys no right to meet Spirito under the Sixth Amendment or applicable

 case law. (Govt. Ltr. of Nov. 4, 2005.) The Government furthermore has security concerns in

 allowing admitted and alleged mafia members to meet, for fear that they may use the time to plan

 future criminal activity. The Government points to DeFilippo’s prior guilty plea to criminal

 possession of a weapon in the third degree and his current indictment, which includes the

 attempted murder of David Nunez and the murder of Gerlando Sciascia, as support for that

 concern. (Id.)

        Neither party has provided precedent on this specific issue and, thus, the court assumes

 that it is not a question that has been directly addressed by the Second Circuit or other courts.

 Nonetheless, my ruling in this case is based specifically on the facts before me and is not



                                                2
Case 1:03-cr-00929-NGG           Document 376        Filed 12/01/05      Page 3 of 4 PageID #: 2315




 intended to act as precedent for other cases. The court finds that DeFilippo has not demonstrated

 any legal right to meet jointly with a former co-defendant nor has he shown how denial of these

 meetings has impacted his Sixth Amendment right to counsel. Furthermore, the court shares the

 Government’s concerns about security in this specific case.

         This court has previously found that it is the “usual practice in this District” to permit co-

 defendant meetings, even when “defendants are charged with committing extreme acts of

 violence on behalf of a criminal enterprise.” (United States v. Basciano, No. 05 Cr. 60, slip op.

 at 1-2 (E.D.N.Y. May 9, 2005).) The purpose of these meetings is to prepare a coordinated

 defense for a joint trial. In my May 9, 2005 Order, I cited to both the “longstanding practice” of

 the District as well as learned counsels’ representations that joint defense meetings are a “critical

 part” of their preparations. (Id. at 2.)

         On the facts before me today, the reasoning of my May 9th Order is not applicable. There

 exists no longstanding practice in the Eastern District of New York of allowing defendants to

 meet with former co-defendants, witnesses, experts, or anyone else who is not a current co-

 defendant to help prepare a defense. And although DeFilippo’s counsel asserts that these

 meetings were and are “essential to his defense,” (Def. Ltr. of Nov. 8, 2005) it is not clear to this

 court how meetings with Spirito are different from meetings with a potential witness or expert.

         DeFilippo’s defense attorney must, of course, diligently prepare a defense. In doing so,

 he may likely seek to interview Spirito with the consent of Spirito and his attorney. I see no

 reason why DeFilippo’s absence from those meetings would jeopardize his right to counsel.

 Although speaking with Spirito and DeFilippo separately will admittedly be more time

 consuming than speaking with them together, I do not find that it causes any undue burden to the


                                                3
Case 1:03-cr-00929-NGG          Document 376        Filed 12/01/05      Page 4 of 4 PageID #: 2316




 Defendant or his counsel. Furthermore, I am not advised or aware of any relevant precedent that

 would elevate this inconvenience to a deprivation of constitutional dimensions.

        Specific to the facts before me, I also find that the Government has legitimate security

 concerns in keeping Spirito and DeFilippo separate. In September 2005, Spirito pled guilty in

 this court to conspiring and taking part in the murder of Gerlando Sciascia. (Tr. of Plea, Sept.

 27, 2005.) He also has eight criminal convictions between 1975 and 1987, including attempted

 murder and assault in the first degree. (Govt. Ltr. of Nov.4, 2005.) The Government is well

 justified in objecting to Spirito’s participation in meetings with others alleged to be involved in

 the same violent criminal allegations.

        For all of the reasons stated above, defendant DeFilippo’s request for an order granting

 him joint defense meetings with Spirito is denied.



 SO ORDERED.


                                                       _____/s/___________________
 Dated: December 1, 2005                               Nicholas G. Garaufis
 Brooklyn, N.Y.                                        United States District Judge




                                               4
